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2014 — Buy/Sell Stolen Non Ferrous & Buy/Sell Stolen Metal Cases

20 CASES TOTAL
NINE INVOLVE THE PEDDLERS STATING THEY SELL TO SOUTHWEST
METALS AND/OR INVESTIGATION LED TO SOUTHWEST METALS

A 14GA028 — Theft at a Detroit Firehouse — Defendant admits to stealing radiators to sell at
yi Southwest Metals from the firehouse. Defendant admits to stealing metals from vacant homes and
buildings across the city. Also admits to selling metals at Lafayette & DIM.

; yh 14G.A034 — Theft of metals from Adamo Demo site — Defendant admits to selling metals from
\y Adamo site to Southwest Metals and wire from site to Mt. Clemens Metals using a U Haul.

“A 14GA041 — Theft of metals from FTP (a scrap yard) — Defendant admits to selling stolen metals
‘to Southwest Metals and illegal after hour’s locations.

at 14GA044 — Theft of new construction industrial brass downspouts from GM — Defendant sold
‘¥ material to Southwest Metals (Southwest responded to Theft Alert issued as required by City
Code 49-8-10b (5) & 49-8-10c).

? 14GA048 — Theft of Metal Carts from Detroit Boiler — video shows defendant’s attempted two
gi sales, cart inspected by scale operator, cart turned away twice. Later same defendant returns with
the cart, appears to be in half. Southwest Metals purchased the cart. (Southwest responded to
Theft Alert issued as required by City Code 49-8-10b (5) & 49-8-10c).

y 14GA063 — Theft of industrial sized copper piping from suburban business — alerted to the case
by Lafayette Recycling who turned the seller away after he was unable to provide documentation

for the material, instead he provided a phone number to the business from which he actually stole
the material. The owner of the material indicated the defendant did not have permission to take
the pipes. SIMS Metal Dynamics also turned material away. GAU requested records from
Southwest Metals and found that they had purchased the material from the defendant without
requiring documentation.

yl 14GA080 — Theft of metals from Southwest High School — Defendant sells his scrap to

\! Southwest Metals (records requested confirmed).

i 14GA086 — Theft of metal from a southwest Detroit commercial business — Defendant sells his
scrap metal to Southwest Metals (through interrogation).

14GA072 — Theft of metal from a City of Detroit building - MEDIA CASE — The investigation

2\| led the GAU to Southwest Metals after identifying the registered owner of the vehicle. The
scrapper sold Southwest processed industrial sized I-Beams. Video was provided as required by
City Code and State Law.

14GA001 — Sale of stolen métal involved DIM (DIM has pending case with Detroit Busi Lic).
14GA010 — Case involved Dearborn scrap yard

14GA018 — Case involved Basic Recycling (who has entered into Stipulated Agreement)
14GA027 — Case involved Redford Scrap Yard

14GA042 -- Case involved Lafayette & DIM (Both have pending cases with Detroit Busi Lic)
14GA057 - Case involved illegal after hours scrap yard

14GA087 — Case involved Hazel Park scrap yard

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14GA091 — Case involved Wyandotte scrap yard
14GA035, 14GA038 & 14GA058 no scrap yards identified

ADDITIONAL VIOLATIONS AT SOUTHWEST METALS 2014

Undercover Sting Operation — 2/19/14 members attempted the sale of underground cable,
subject of a Theft Alert to several area scrap yards. Southwest Metals did not purchase the
material, although Greg Aslinger (current Manager) and Michael Yazback (known to DPD as the
Manager at the time) discussed it. Yazback called a person they referred to as “Joe” on the phone
and discussed purchasing the material with him. Ultimately the material was refused. Both
Aslinger and Yazback acknowledged that the material was the subject of a Theft Alert prior to
asking “Joc” if they could purchase the material, The scrap yard did not report this incident to the
police as required by City Code 49-8-10b (5) & 49-8-10c. No ticket was issued.

Visit to deliver letter on MCL 445,426 — Southwest metals not compliant with mailing of
payments. Scrap yard allowing peddlers to return after three day waiting period to pick up cash.
MCL 445.426. No ticket issued/instead a verbal warning was given. (12) scrap yards visited ALL
in compliance with mailing for “specific materials” except Southwest Metals.

14GA089 — Failure to keep records readily accessible for review MCL 445.427 (Peddler Rodney
Briggs)

14GA102 — Failure to Take Photograph of Scrap Metal MCL 445.427 ~ Peddler Ronald
Hubbard, scrapper responsible for 2400 block of Oakdale explosions. Hubbard sold scrap to
Southwest Metals (49) times since January 1, 2014. Southwest Metals unable to produce ferrous
scale and non ferrous scale photographs of the material.

14GA096 — Failure to Tag and Hold MCL 445,429 — Upon conducting an inspection Southwest
Metals failed to Tag and Hold heavy gage copper wire that had been sold on March 14, 2014 as
described by a Confidential Informant (who provided a written statement). ‘The ticket#14411128
was re-issued after it was learned that the ticket had been dismissed by the prosecutor for an
unknown reason and without notification to the OIC. The misdemeanor warrant request was
prepared at the request of APA Bresnahan at the WCPO and reviewed by APA Doherty. During
this inspection wire that was the subject of several Theft Alerts was found on the premises.
Several City Code records violations were sited on this date as well, with warnings being verbally
issued for some violations.

